There can be no murder without the intent to kill. The facts in this case show no such intent. While the law provides that the reckless disregard for human life may be equivalent to a specific intent to kill, still such disregard for human life must be manifested by voluntary and intentional acts, and not by mere inattention or by negligent conduct. In each case cited in the majority opinion it will be found that the act relied on to show a reckless disregard of human life was a voluntary and intentional act, and not inattention or negligent conduct. The evidence fails to show that at the time the accused drove the *Page 95 
automobile into the crowd, which act resulted in the death of deceased, he was voluntarily driving in a manner which indicated a reckless disregard for human life. On the contrary the evidence shows that the automobile was being driven in a lawful and proper manner; and the mere fact that a person was killed does not within itself impute the reckless disregard for human life that the law says may be the equivalent of a specific intent to kill. Justice Duckworth concurs in this dissent.